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                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION


DR. THOMAS HUBBARD, PHD,                                     )
                                                             )
                Plaintiff,                                   )
                                                             )           No. 1:20-cv-1140
v.                                                           )
                                                             )
HOLLIE GREEN,                                                )
                                                             )
                Defendant.                                   )




                             HOLLIE GREEN’S ANSWER AND DEFENSES
                              TO PLAINTIFF’S ORIGINAL COMPLAINT


                                               I.        Introduction

         1.       Casting himself as the victim of “mob bullying,” Plaintiff Professor Thomas

Hubbard (“Plaintiff”) of the University of Texas at Austin (“UT”) has taken it upon himself to sue

multiple UT students,1 including Defendant Hollie Green (“Hollie”), for their fundamentally

accurate criticisms of Plaintiff’s (1) open advocacy for male pederastic relationships, which under

present mainstream scholarship and under current law are literal child abuse; (2) desire to lower

the age of consent for minor males; and (3) insensitive and tone-deaf approach to addressing

sexual violence against women.




1
  In litigation with another UT student, Plaintiff has used court pleadings as an attempt to smear the student’s character
and cast aspersions on her publicly, apparently by mining social media for details intended to make her look bad to
this court and the public. Plaintiff went so far as to attack her based on her father’s occupation, and to call her
narcissistic, privileged, and “sexualized.” These types of attacks are wholly immaterial to any legitimate claim of
defamation, and demonstrate Plaintiff’s intent to intimidate anyone who dares to criticize his work. See Hubbard v.
Blakemore, Case No. 1:20-cv-00767-RP, W.D.Tex. 2020, Dkt. 9.
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        2.      Hollie is a student concerned about the teaching and scholarship advocated for by

Plaintiff.

        3.      The confused Complaint does not identify specific false and defamatory statements,

but the following seems to be all of what Plaintiff complains about Hollie saying:

                   That Hollie has described Plaintiff as “advocating” for pedophilic relationships,
                    when he merely wants people to understand Ancient Greek pederasty in its
                    context. See Pl.’s Compl., Dkt. 1, ¶¶ 18-19, 21.

                   The Hollie has used the word “pedophilia” instead of “pederasty” to describe
                    the relationships Plaintiff studies. See id., ¶ 19, 21.

                   The Hollie claimed that Plaintiff was published by and was associated with
                    NAMBLA. See id., ¶ 11

                   That Hollie claimed he had taught a class about rape in which he asked students
                    to describe their sexual experiences and that he has claimed women students
                    are often not objective enough to study rape. See id., ¶¶ 14, 19, 21.

                   That Hollie claimed that this class was called “Mythology of Rape” when it was
                    in fact called “Mythologies of Rape.” See id. at ¶¶ 12, 21.

                   That Hollie claimed this class was banned after it ran for one semester and never
                    returned. Id.

                   That Hollie misstated the date that Plaintiff was tenured. Id. at ¶ 10.

        4.      The overwhelming problem with Plaintiff’s complaint is that everything Hollie has

said is true, or substantially true, as will be addressed paragraph by paragraph in the material

responsive to the Complaint allegations below. She did unknowingly misstate his date of tenure,

but it is unclear how anyone could find that mistake defamatory.

        5.      Plaintiff’s “scholarship” frequently discusses relationships between men and boys

that today’s standards regard as child sexual abuse (a fact that he acknowledges). He has

moderated conferences about the topic of pedophilia and other sexual practices involving children

who have not yet reached the age of consent. He publishes books and articles that question whether



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relationships between older men and boys are actually detrimental, or whether therapists and other

mental health professionals actually cause the harm by suggesting that said relationships are

abusive. His own work recognizes that many people regard these topics as controversial and

dangerous.

          6.      For example, the Foreword in a book he edited, entitled “Censoring Sex Research:

The Debate Over Male Intergenerational Relations,”2 actually refers to “child sexual abuse” as

“CSA,” as a part of its effort to lessen the negative associations with the words themselves. The

Foreword begins:

                  The essays in this important book challenge readers to think outside
                  the box. instead of viewing all sex across the age of consent as abuse,
                  the authors address this topic without prejudgment.

It thereafter continues:

                  In contemporary Western societies, the drive to “protect” children
                  has meant that any taboo sex across the age of consent means
                  automatic criminalization of that behavior and the attendant
                  categorization of the adults as “sexual predators” and the minors as
                  “victims.” The adults are further assumed to be “pedophiles” (thus
                  conflating pedophilia— sexual attraction to preadolescents—with
                  hebephilia—attraction to adolescents), and all minors are assumed
                  to be “children,” without any agency.

          7.      The Introduction which follows is specifically attributed to Plaintiff. In it, he

writes:

                  The story of how this volume came into existence, despite corporate
                  cowardice in the face of preemptive attacks by right-wing media and
                  screwball special interest groups, is also an explanation of why the
                  volume is necessary in an era when even the most restrained and
                  balanced academic discussions are too often silenced by the
                  demands of political correctness. The question of the sexually active
                  “child,” and particularly the child who is sexually active with an
                  adult, stirs strong emotional reactions not only in the self-

2
 The book was copyrighted in 2013 and is available at
https://www.ipce.info/sites/ipce.info/files/biblio_attachments/taboo_sex_research_thinking_outside_the_box_article
_and_book_table_of_contents.pdf


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                  proclaimed champions of “family values,” but even among many
                  feminists, therapists, and social liberals who are sensitive to
                  relationship structures of social inequality and power imbalance and
                  aware of the very real harm that coercive or manipulative
                  relationships can inflict upon young children. 3

And he thereafter continues:

                  Just as American sex education arguably does more harm to teens
                  than good, it has been argued that therapeutic responses to CSA
                  often have the long-term effect of worsening the self-esteem of
                  victims more than the initial impact of the events themselves. such
                  was the conclusion of Harvard research psychologist Susan Clancy
                  (2009), who conducted in-depth interviews of nearly 200 CSA
                  victims over several years. Contrary to her initial expectations, she
                  found that most respondents who reported childhood sexual
                  encounters with adults felt no trauma at the time the events occurred,
                  when the sexual and social meaning of the acts performed was not
                  yet clear to them. Rather, the harm stemmed from much later
                  retrospective feelings of shame traceable to the victims’ perception
                  that they might have been too acquiescent or cooperative as
                  children. This sense of shame and its attendant psychological
                  maladjustments are exacerbated by the popular stereotype of CSA
                  as a traumatic event that is supposed to create immediate fear and
                  aversion in the victim; too many victims simply felt that because this
                  model clearly did not apply to them, they were themselves abnormal
                  and perhaps responsible for what happened. The real harm of CSA
                  is thus in many cases iatrogenic, as victims find their own
                  experiences out of synch with the prevailing social narratives
                  engendered by outmoded clinical orthodoxies about children never
                  cooperating with or enjoying their “abuse,” even in the many cases
                  when it occurs at the hands of a beloved family member or friend.

         8.       Plaintiff also runs (as CEO and President) a tiny non-profit organization called the

William A. Percy Foundation, as well as its website. This website also sometimes addresses the

topic of child sexual abuse, for example suggesting that child pornography does not lead to

offenses against children:

              Do Illegal Images Encourage Child Molestation?– Mere possession of child pornography (which includes
              images to fully sexually mature adolescents) is one of the most rapidly growing offenses prosecuted in

3
 Notably, the book itself contains an extended discussion of how the original publisher did not want to publish the
main essay as drafted, after receiving extensive feedback by concerned peers and academics. Hubbard and his co-
editor thereafter mounted a vociferous complaint and fight with the publisher, and ultimately found another publishing
house to put out their volume devoted to the taboos of relationships between adult men and pre-teen and teen boys.


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               the U.S. federal system, earning those convicted an average sentence of 12.5 years (according to
               Department of Justice statistics). Often, the images in question are old and feature mere nudity, little
               different from what is found in naturist literature and legitimate art photography. In this brief, a well-known
               criminologist and expert witness reviews the most recent scholarship on the question, and concludes that
               there is no credible link between viewing such images and committing hands-on offenses against minors.

               Who we are | William A. Percy Foundation (wapercyfoundation.org) 4


Of course this academic discussion ignores the victimization of a child that has already occurred

if a person is looking at child pornography, since the image was produced in the first place.

         9.        Plaintiff sued Defendant Hollie Green and a number of other students in separate

lawsuits for taking issue with his statements about “intergenerational” relationships and child

sexual abuse. Hollie’s conduct (as well as the conduct of several other students) involved

expressing her own view that Plaintiff’s teaching and scholarship with regard to child sexual abuse

was troubling, and that his attitudes toward rape were misogynist. Notably, this is a view shared

by numerous people in the public, and even was the topic of an editorial in the Dallas Morning

News. Hollie is only one of numerous individuals who have concern over the normalization of

sexual relationships between adults and children, and with the suggestion that rape is often just

“bad sex,” and just one of many who voiced those concerns with regard to the tenor of Plaintiff’s

publications and teaching.

         10.       Despite this, Plaintiff’s complaint goes so far as to suggest that Hollie’s supposed

bullying and defamation drove him from his home and forced him to move to California. In truth,

it appears Plaintiff owned property and ran his nonprofit out of Chico, California for a number of



4
  http://wapercyfoundation.org/?page_id=28. The William A. Percy Foundation for Social & Historical Studies is a
non-profit. Its “Who We Are” page suggests that the organization was founded in honor of two men named William
Percy. The biography of the first Percy ends with “A lover of younger black men, Percy offers a fascinating window
into the intersections of race, class, religion, age, and sexuality in the segregated South of the 1920s and 30s.” The
other Mr. Percy is in part described as “Sexually active since the age of five, he turned his scholarly attention to gay
issues in the 1980s, co-editing the Encyclopedia of Homosexuality with Wayne Dynes, co-authoring with Warren
Johansson Outing: Shattering the Conspiracy of Silence (Harrington Park 1994) and Pederasty and Pedagogy in
Archaic Greece (University of Illinois Press 1996), as well as significant work on Roman demography.” Plaintiff is
the CEO and President of this organization, which appears to be entirely his own, and focused on his own interests.


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years prior to any statement Hollie made. It also appears that he is still a tenured professor at UT,

and that he maintains a Texas driver’s license and home.

        11.       Significantly, Plaintiff has a long pattern of threatening and arguing with those who

dare to question or challenge his “scholarship” around the issue of relationships between adult men

and boys. He has written numerous letters threatening lawsuits to multiple individuals, and as

noted, has filed at least three separate lawsuits in this court related to similar attempts to silence

his critics.

        12.       Apart from some technical details like when Plaintiff got tenure, nothing Hollie has

said about Plaintiff is fundamentally untrue. Plaintiff hangs his hat on a purported technical,

semantic difference between pederasty and pedophilia that even Plaintiff himself cannot be

bothered to regularly make.

        13.       For example, Plaintiff claims in his Complaint that an article on the Insidehighered

website claimed that Plaintiff’s work looked at Ancient Greek pederastic relationships and

“allow[ed] for the possibility…that certain of these relationships might not be harmful….”

Plaintiff then alleges that Hollie summarized this article as reporting that Plaintiff advocated for

child sexual abuse. But by any modern legal or scientific standard, Ancient Greek pederasty is

child sexual abuse. And so while Plaintiff is free to claim and argue that pederasty was not actually

harmful, or even that it should be legalized, Hollie is not required to moderate her tone in her

vociferous disagreement. She is free to call it exactly what every mainstream professional child

welfare organization and psychological or psychiatric association would call it: child sexual abuse.

        14.       In fact, Plaintiff himself often refers to pederasty and pedophilia as “child sexual

abuse,” or the neutralized acronym “CSA,” as evidenced in his own Introduction to “Censoring

Sex Research: The Debate Over Male Intergenerational Relations,” cited above. That piece then




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goes on to suggest that people should not forget the “benefit[s]” conferred by predatory sex

offenders on children:

               Case studies of notable pedophiles who have attracted recent media
               attention, such as Penn State football coach Jerry Sandusky or the
               late entertainers Michael Jackson and Jimmy Savile, reveal a curious
               mixture of charitable generosity with predatory license. That they
               will be remembered primarily for the latter should not blind us to
               the reality of the former. Although all three unquestionably molested
               some children, it is easy to forget that their enthusiasm for kids
               benefited many as well. Rather than condemn them as one-
               dimensional monsters, we should attempt to learn from their human
               tragedies how easily noble instincts can become perverted into self-
               destructive obsessions…clinical psychologists and social workers
               should be encouraged to develop strategies for channeling or
               sublimating pedophilic tendencies into a more Platonic form of love.

       15.     Again, Plaintiff is free to advocate trying to rehabilitate pedophiles by channeling

pedophilic tendencies to the benefit of children, but Hollie is free to see this as nothing more than

as a recipe for ever more child sexual abuse. Notably, in the very next paragraph of the same

writing, Plaintiff himself describes a movie in which a “suspected pedophile” mentors a fatherless

teenage boy. Plaintiff does not describe this man as a “suspected pederast.” Because he, like most

people in the English-speaking world, uses the term “pederast” merely as a subcategory of the

broader term “pedophile.” Indeed, in the Foreword to that same work, another academic points out

that this broader use of the term “pedophilia” is common throughout America and contemporary

Western societies. Yet Plaintiff apparently now thinks that the difference between the two is

enough to support a defamation claim. It is not.

       16.     Plaintiff essentially complains that by not specifying that he only advocates for the

possibility of positive sexual relationships between men and post-pubescent boys, that somehow

she has caused him harm. His premise, therefore, is that there is an important distinction between




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a boy of eleven versus a boy of thirteen, and that a sexual relationship with the latter is more

acceptable.

       17.     However, Plaintiff even has to mischaracterize his own work in order to try to make

out the elements of a defamation claim. In paragraph 20 of his petition, Plaintiff claims that he

only discussed Ancient Greek pederasty in order to help people “understand it in the context of the

Ancient Greeks.” But in his Introduction to Special Issue on “Boys’ Sexuality and Age of Consent”

Hubbard decries “Adults’ exclusive hold on sexual privilege” and says of another of his works

about Ancient Greek pederasty that “I critically examine contemporary American legislative

regimes governing adolescent sexuality within a historical perspective and test the universalizing

assumptions of contemporary discourse against the evidence of a highly productive and successful

social system that incorporated specific social functions for adolescent male sexuality.” In context,

it is clear that the “highly productive and successful social system” being described is Ancient

Greek pederasty, a system which, it bears repeating, would be classified as child sexual abuse (1)

in present law, and (2) in mainstream medicine and psychology. Hubbard further attacks the

present sexual consent laws by saying “I argue that legal regimes created to protect or control girls’

sexuality cannot be transferred to boys’ sexuality without engendering great harm.” Plaintiff has

never limited himself to historical examinations of Ancient Greek pederasty—he has instead

argued that Ancient Greek pederasty is an important model for modern society to consider in

designing modern sexual mores.

       18.     Plaintiff has publicly admitted he has ties to NAMBLA and he has been published

by NAMBLA. His book “Greek Love Reconsidered” contains the following copyright stamp:




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        19.     The referenced firm, Wallace Hamilton Press, is a NAMBLA venture, as a

NAMBLA member has admitted in Court. See Curley v. N. Am. Man Boy Love Ass’n, No. 00-

10956-GAO, 2003 U.S. Dist LEXIS 12488, at *28. Plaintiff has also specifically and publicly said

that he regards some members of NAMBLA as his friends whom he had worked hard to gain the

trust of.

        20.     Regardless, as the foregoing demonstrates, Hollie’s statements of concern are

entirely compatible with and defensible based on Plaintiff’s own writings, which are published

and available for any reader to take in.

        21.     That a tenured professor would sue a student on claims that she attempted to silence

him, through the vehicle of a defamation claim designed to punish her for accurately characterizing

his work, is equal parts ironic and repulsive. Plaintiff should take nothing, and all costs should be

assessed against him.

                                   II.     Plaintiff’s Complaint
    A. Jurisdiction and Venue

        1.      With respect to paragraph 1 of Plaintiff’s Complaint, Hollie admits that this Court

has personal jurisdiction over her and that this Court is a proper venue for this case.

        2.      Hollie denies paragraph 2 of Plaintiff’s Complaint in its entirety. Hollies denies that

the amount-in-controversy exceeds $75,000.00, and Hollie further denies that Plaintiff is

domiciled in California. Over the course of discovery, Hollie intends to locate evidence that

Plaintiff has invoked the jurisdiction of this court improperly in order to avoid Texas state court


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procedures that make frivolous lawsuits designed to suppress constitutionally protected speech,

like this one, considerably harder to maintain. Since this implicates this Court’s subject matter

jurisdiction, this matter cannot be waived by answering.

       3.       Hollie denies paragraph 3 of Plaintiff’s Complaint in part. Specifically, Hollie

admits that Plaintiff is a natural person who may be served through his counsel, and denies that he

is a permanent resident and citizen of the State of California.

       4.       Hollie admits the allegations in paragraph 4 of Plaintiff’s Complaint, except that

she would add that she would prefer to be served through her counsel.

   B. Factual Background

       5.       Hollie admits the allegations in paragraph 5 of Plaintiff’s Complaint that he is a

faculty member at the University of Texas at Austin, and that he is in the Classics Department and

that he is a faculty affiliate of the Center for Women’s and Gender Studies. Hollie otherwise denies

the allegations in paragraph 5.

       6.       Hollie admits the allegations in paragraph 6 of Plaintiff’s Complaint.

       7.       Hollie admits the allegations in paragraph 7 of Plaintiff’s Complaint.

       8.       Hollie admits the allegation in paragraph 8 of Plaintiff’s Complaint that she tweeted

the described tweet. Hollie otherwise denies the allegations in paragraph 8.

       9.       Hollie denies all of the allegations in paragraph 9 of Plaintiff’s Complaint, which

state that the “Publications contain numerous false statements of fact concerning Mr. Hubbard.”

The statements in the publication are true, substantially true, statements of opinion, rhetorical

hyperbole, or otherwise non-defamatory in their entirety.

       10.      Hollie lacks information sufficient to admit or deny the allegation in paragraph 10

of Plaintiff’s Complaint that he received tenure in 1993 or that he became a full professor in 1998.




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Hollie denies that any discrepancy in this irrelevant fact in any way demonstrates a lack of care on

Hollie’s part or in any way defames or contributes to the defamation of Plaintiff.

         11.      With respect to paragraph 11 of Plaintiff’s Complaint, Hollie admits that the

Publications characterize Plaintiff as “ha[ving] ties with NAMBLA” and being published by

NAMBLA. Hollie admits that the linked material indicated that Wikipedia listed Plaintiff was an

“Associated Individual” of NAMBLA.5 Hollie denies the allegation in paragraph 11 of Plaintiff’s

Complaint that he has in any way refuted this association, that Plaintiff’s associations with

NAMBLA are a “hoax” or that Wikipedia’s indication that Plaintiff is associated with NAMBLA

being removed in any way suggests that Plaintiff’s public and known association with NAMBLA

is any less real.. Hollie denies any and all other allegations or implications in paragraph 11 of

Plaintiff’s Complaint.

         12.      Hollie admits the allegation in paragraph 12 of Plaintiff’s Complaint that she

accidentally called his “Mythologies of Rape” course “Mythology of Rape.” Hollie denies the

allegation in the same paragraph that this course was not banned. Hollie denies any other

allegations or implications in this paragraph.

         13.      Hollie admits the allegations in paragraph 13 of Plaintiff’s Complaint that state

what the link and relevant article actually say. Hollie admits that she “fail[ed] to mention” the

American Philological Association’s intervention. Hollie denies that it is inaccurate to claim that

this article reveals promotion of pedophilia or child sexual abuse. Hollie admits that she used the




5
  Records of Plaintiff’s attempt to get Wikipedia to remove the statement linked by Hollie indicating that he was
associated with NAMBLA show (1) that the listing had a basis in fact and was not, in any sense, a “hoax” and (2) that
Plaintiff’s claims not to be associated with NAMBLA are based entirely on the same kinds of semantic distinctions
that render his other defamation claims baseless. Moreover, when Hollie made the post containing the link to the
Wikipedia article, the linked page specifically did indicate that Hubbard was associated with NAMBLA; even if none
of the rest of this was true, therefore, Hollie had a good faith, non-negligent and non-malicious belief that what she
was saying was true.


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word “pedophilia” here, but denies that this conveys a false impression or is in any sense

defamatory.

        14.     Hollie admits that she said that the course was banned, as alleged in paragraph 14

of Plaintiff’s Complaint, but denies that this statement was false or defamatory. Hollie admits that

she indicated that Plaintiff “stated” the matter in quotes, but in context, it was clear that Hollie was

paraphrasing:




The precise words that Hollie attributes to plaintiff are those within the preceding quote, not those

quoted in Plaintiff’s Complaint, and the words Hollie quotes Plaintiff as saying are accurate.

Plaintiff does not claim that Hollie’s summary is false, so this statement cannot support a

defamation claim. Hollie denies any other allegations or implications in paragraph 14 of Plaintiff’s

Complaint.

        15.     Hollie admits that the allegation in paragraph 15 of Plaintiff’s Complaint that she

indicated that he was referring to pedophilic relationships in certain of his works. Hollie denies

that this statement can have any defamatory effect as compared to pederastic relationships.

        16.     Hollie admits what she wrote about the assignment described in paragraph 16 of

Plaintiff’s Complaint. Hollie denies that her assessment of this assignment is inaccurate or untrue,

or that her description thereof is capable of defamatory meaning.

        17.     Hollie admits the allegation in paragraph 17 of Plaintiff’s Complaint that some of

the links no longer work. Hollie lacks information sufficient to admit or deny the baseless

conclusions Plaintiff draws from that.




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       18.       Hollie admits that the gist of her statements is that Plaintiff advocates for the

legalization and destigmatization of what almost everyone in America would characterize as

pedophilia. Hollie further admits that her statements point out Plaintiff’s tone deaf and insensitive

attitude toward sexual assault against women. Hollie further admits that she characterized the

“Mythologies of Rape” course as banned. Hollie denies all other allegations in paragraph 18 of

Plaintiff’s Complaint, denies any other characterization of her statements, denies that these

statements are false, and denies that these statements are capable of defamatory meaning under the

law.

       19.       Hollie denies all of the allegations in paragraph 19 of Plaintiff’s Complaint, as

Plaintiff has repeatedly advocated for the destigmatization and normalization of pederastic

relationships.

       20.       Plaintiff’s sole allegation in paragraph 20 that he has only ever advocated for

pederasty to be understood “in the context of the Ancient Greeks” is utterly false, and therefore

Hollie denies it. It is not a close question, or a question of interpretation: Plaintiff has repeatedly

brought Ancient Greek pederasty into the conversation about modern sexuality and consent, as is

shown by Plaintiff’s own words, quoted above. He has written a work titled “Sexual Consent and

the Adolescent Male, or What Can We Learn from the Greeks.” Plaintiff knows that this is the

case—he knows that his discussions of pederasty have never been limited to historical examination

or understanding. Hollie asks that Plaintiff immediately clarify this statement in his present

pleadings to avoid misleading the Court.

       21.       Hollie denies all of the allegations in paragraph 21 of Plaintiff’s Complaint.

       22.       Hollie denies that any of her statements caused any injury to Plaintiff. Hollie lacks

sufficient information to admit or deny the events described in paragraph 22 of Plaintiff’s




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Complaint regarding the graffiti or the alleged attack on Plaintiff’s home, and Hollie denies that

she is liable for the tortious acts of any third party.

        23.      Hollie denies all of the allegations in paragraph 23 of Plaintiff’s Complaint.

    C. Cause of Action

        24.      Hollie admits, denies, and lacks information sufficient to admit or deny all of the

allegations incorporated into paragraph 24 of Plaintiff’s Complaint as stated above.

        25.      Hollie denies that Plaintiff is not a limited purpose public figure as Plaintiff alleges

in paragraph 25 of Plaintiff’s Complaint. Hollie denies that the statements were per se defamatory,

or defamatory per quod. Hollie denies all of the other allegations in paragraph 25 of Plaintiff’s

Complaint.

        26.      Hollie denies the allegations in paragraph 26 of Plaintiff’s Complaint.

    D. Conditions Precedent

        27.      Hollie denies the allegations in paragraph 27 of Plaintiff’s Complaint.

                             III.    Defenses and Affirmative Defenses

        Hollie asserts the following defenses to the claims set out in Plaintiff’s Complaint. By

asserting these defenses, Hollie does not assume any burden of proof not otherwise legally

assigned to her.

        1.       The statements were true.

        2.       The statements were substantially true.

        3.       The statements were not factual, but merely statements of opinion.

        4.       The statements were rhetorical hyperbole.

        5.       The statements were not defamatory, either per se or per quod.




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         6.       Plaintiff’s reputation was so tarnished before these statements that he cannot be

defamed by them.

         7.       Any injury to Plaintiff’s reputation or otherwise was actually caused by other third

parties who publicized this controversy far more broadly than Hollie did.

         8.       Hollie was speaking on matters of public concern—child sexual abuse, the age of

consent, and sexual violence against women— Plaintiff is a limited purpose public figure with

respect to the statements, and the statements were not made with actual malice.

         9.       Hollie was not negligent in making the statements.

         10.      Plaintiff fails to state a claim on which relief can be granted.

         11.      Hollie is not responsible for the tortious or criminal actions of independent third

persons.

         12.      Plaintiff is not entitled to the jurisdiction of this Court because he is domiciled

and/or the amount actually in controversy in this case is less than the jurisdictional minimum in

Texas.

         13.      The statements made by Hollie were not defamatory given the significant history

of Plaintiff’s own published speech in support of sexual relationships between adult men and boys

who have not reached the age of consent.


                                    IV.     Conclusion and Prayer

         Hollie asks that Plaintiff take nothing, and that all costs of court be assessed against him.




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DATED: January 22, 2021                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE
       This document was filed electronically on January 22, 2021, and a copy of this document
has been served on all counsel of record.


                                               /s/ John P. Atkins




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